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 8                        UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,            No.   CR. S-07-483 LKK
12                  Plaintiff,
13           v.                           ORDER
14   RONNIE JAMES WILLIAMS, JR.,
15                  Defendant.
16

17           On November 17, 2008, this court sentenced petitioner Ronnie

18   James Williams, Jr. to a term of imprisonment of 151 months for

19   crack cocaine-related offenses. (ECF No. 102.) On December 19,

20   2011, this court ordered petitioner’s term of imprisonment

21   reduced to 135 months, based on a stipulation for sentence

22   reduction pursuant to 18 U.S.C. § 3582(c)(2). (ECF Nos. 202,

23   203.)

24           The court is now in receipt of a document entitled “Motion

25   for Appointment of Counsel Pursuant to Drugs Minus Two 782

26   Amendment,” filed by petitioner acting pro se. (ECF No. 235.) The

27   motion’s title apparently refers to votes taken by the United

28   States Sentencing Commission (i) on April 10, 2014, to amend the
                                         1
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 1   federal drug sentencing guidelines by generally reducing them by
 2   two levels (termed “Amendment 782”), and (ii) on July 18, 2014,
 3   to apply Amendment 782 retroactively to persons already convicted
 4   under the existing guidelines.
 5           Congress may reject or modify the proposed amendments to the
 6   guidelines until November 1, 2014. Accordingly, petitioner’s
 7   motion is premature. The court declines to appoint counsel to
 8   address amended sentencing guidelines which have yet to take
 9   effect, and may not take effect in their current form, or at
10   all.1
11           Accordingly, petitioner’s motion is DENIED without prejudice
12   to its future renewal.
13           IT IS SO ORDERED.
14           DATED:   August 8, 2014.
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23    Petitioner should also be aware that the Sentencing Commission
     included in Amendment 782 a special instruction which provides
24   that a court “shall not order a reduced term of imprisonment
     based on [the retroactive sentencing guideline modifications]
25   unless the effective date of the court’s order is November 1,
26   2015 or later.” While this instruction does not preclude the
     court from conducting sentence reduction proceedings prior to
27   November 1, 2015, any orders stemming from those proceedings
     which reduced petitioner’s term of imprisonment would only take
28   effect on or after this date.
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